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10
11                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
12
      BARKEV GHAZARIAN and                    Case No.: 2:19-cv-4664
13    GARO B. GHAZARIAN,
14              Plaintiffs,
                                              PLAINTIFFS’ RESPONSE TO
15    v.
                                              ORDER TO SHOW CAUSE
16                                            RE: SUBJECT MATTER
17    REPUBLIC OF TURKEY,                     JURISDICTION
                Defendant.
18
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 2   2019) ...................................................................................................................... 1
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 1                                     INTRODUCTION
 2
              Plaintiffs filed a 5-count, 44-page complaint in this matter on May 29,
 3
         2019. Dkt. #1 (“Cmplt.”). On June 10, 2019, the Court invited Plaintiffs to
 4
         show cause, in writing no later than June 28, 2019, as to why the case should
 5
 6       not be dismissed for lack of subject matter jurisdiction. See Dkt. # 15
 7       (“Order”). Plaintiffs file this memorandum of law pursuant to the Court’s
 8       order.
 9
                                       BACKGROUND
10
                  In early October 2017, Turkish authorities arrested a U.S. consulate
11
         staffer in Turkey on charges that he had ties to a preacher in Pennsylvania.1
12
13       Turkish authorities had previously arrested and imprisoned an American
14       Christian pastor, Andrew Brunson, who lived in Turkey with his wife and
15       children and had a small church there. 2 As the U.S. Ambassador explained,
16
         Turkey was holding Pastor Brunson in a Turkish prison because he had been
17
         preaching the Christian faith in Turkey. 3 When Turkey refused to release the
18
         U.S. consulate staffer, the United States suspended visa services to Turkish
19
20       citizens. 4 Id. Turkey retaliated against the United States by suspending visa
21
22
23
     1
       https://www.reuters.com/article/us-usa-turkey-security/u-s-still-seeking-
24
     explanation-for-arrest-of-staff-in-turkey-ambassador-idUSKBN1CG179
25   (last visited June 27, 2019).
26
     2
       https://time.com/5351025/andrew-brunson-trump-turkey/ (last visited June
     27, 2019).
27   3
       See fn. 1.
28
     4
       https://www.cnn.com/2017/10/09/politics/turkey-us-visa-
     diplomacy/index.html (last visited June 27, 2019).


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 1       services to U.S. citizens on October 8, 2017. 5 It was on the heels of this
 2
         retaliation that Plaintiff Barkev Ghazarian (“Barkev”), an Armenian Christian
 3
         born in Turkey and living in California, sought to return to Turkey to visit
 4
         religious pilgrimage sites in his native land and the place where he was
 5
 6       baptized.
 7             Rather than process Plaintiff Barkev’s visa application, grant it or deny
 8       it, Defendant’s agents in the United States capitalized on the opportunity to
 9
         initiate a malevolent charade to demean, ridicule and degrade Plaintiff Barkev,
10
         an elderly man then 86 years of age. Defendant’s agents were not executing
11
         routine discretionary consular acts—quite the contrary. The Complaint pleads
12
13       that Defendant’s agents acted in ill-scripted design, in the United States, to
14       make Plaintiff Barkev feel inferior and meaningless as an Armenian Christian.
15       By their acts, they mocked the elderly man as a nonperson, attacked his
16
         dignity and confused him—and did so in the United States. They sought to
17
         render his self-identity as a native Armenian Christian of Turkey, a patent
18
         nullity.    Knowing Plaintiff Barkev had to travel on December 22, 2017,
19
20       Defendant’s agents ridiculed him by emailing him that same afternoon, did not
21       respond to his application, and directed him to the Los Angeles consulate with
22       fee instructions on how to apply as a U.S. citizen. They did so with full
23
         knowledge that Defendant’s retaliatory visa suspension regime against United
24
         States meant that Plaintiff Barkev would never actually be granted such a visa
25
         as a U.S. citizen.
26
27
     5
      https://tr.usembassy.gov/message-u-s-citizens-government-turkey-suspension-
28   visas-u-s-citizens-october-8-2017/ (last visited June 27, 2019).


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 1            Defendant’s agents were not trying to process any visa application at all;
 2
         they were capitalizing on an opportunity to degrade, demean and mock an
 3
         elderly human being in the United States because he identified himself as an
 4
         Armenian Christian. In doing so, Defendant’s agents were acting pursuant to
 5
 6       a specific and mandatory policy of Defendant. This case is not about the
 7       processing of a visa application. It is about acts of harassment, degradation
 8       and ridicule committed by Defendant’s agents in the United States, against
 9
         persons in the United States and contrary to law in the United States—which
10
         conduct has resulted in serious and devastating consequences to an elderly
11
         man and his son.
12
13            The United States is not Turkey. In directing its agents here to treat
14       Plaintiff Barkev in California as it would direct its agents to deal with
15       Christians (and Armenian Christians, in particular) in Turkey, Defendant has
16
         surreptitiously over-stepped its sovereign borders and caused its agents to
17
         trample indiscriminately on the rights of Plaintiffs.6 For the reasons below,
18
         this Court has original jurisdiction to adjudicate the tort claims that Plaintiffs
19
20       bring against Defendant Turkey, and this United States federal district
21       court has subject matter jurisdiction to adjudicate them.
22
23
24
25
26   6
       See also Kurd v. Republic of Turkey, 374 F. Supp. 3d 37, 46 (D.D.C. 2019)
27   (participants at a May 2017 protest over Turkish President Erdogan’s visit to
     Washington D.C. suit against Republic of Turkey, Turkish security forces and
28   civilian defendants for inter alia assault, battery and hate crimes).


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 1                                       ARGUMENT
 2
              This Court has subject matter jurisdiction pursuant to both the tort
 3
         immunity exception and the commercial activity exception of the Foreign
 4
         Sovereign Immunities Act (“FSIA”), 28 U.S.C. 1605(a)(2) and (5). Plaintiffs
 5
 6       have alleged facts outside the discretionary function exclusion to the tort
 7       immunity exception, consistent with an exception to the exclusion recognized
 8       by the Ninth Circuit.     The commercial activity exception also provides
 9
         jurisdiction here because there is conduct by Defendant relevant to an element
10
         of Plaintiffs’ claims that constitutes commercial activity routinely exercised
11
         by private persons. Based on these exceptions, as well as the possibility of
12
13       waiver pursuant to 28 U.S.C. 1605(a)(1)7, the Court should not dismiss the
14       Complaint for lack of subject matter jurisdiction.
15       I.   THE NINTH CIRCUIT REQUIRES ONLY A SHORT AND
16
              CONCISE STATEMENT OF JURISDICTION IN FSIA CASES
17
              BASED ON AN EXCEPTION TO SOVEREIGN IMMUNITY.
18
              Plaintiffs’ jurisdictional statement satisfies the pleading standard
19
20       required to assert an exception to sovereign immunity. Cmplt. [Dkt. #1] ¶¶ 7,
21
22   7
       As an aside, under 28 U.S.C. 1605(a)(1), a foreign state shall not be immune
23   from jurisdiction where the foreign sovereign has waived jurisdiction, either
     explicitly or by implication. Republic of Argentina v. NML Capital, Ltd., 573
24   U.S. 134, 142 (2014) (“A foreign state may waive jurisdictional immunity, §
25   1605(a)(1)”); Packsys, S.A. De C.V. v Exportadora de Sal, S.A. de C.V., 899
     F.3d 1081, 1093 (9th Cir. 2018). Here, Defendant may have waived
26
     jurisdiction by its adoption and/or ratification of certain treaties cited in Count
27   III. Cmplt. [Dkt. #1] ¶¶ 145, 146. In addition, upon being served, Defendant
28   may waive jurisdiction and address the claims on the merits.



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 1   8. The Ninth Circuit has stated that “we have never held that anything other
 2
     than our usual notice pleading standard applies to complaints that allege an
 3
     exception to foreign sovereign immunity.” Doe v. Holy See, 557 F.3d 1066,
 4
     1073-4 (9th Cir. 2009) (emphasis added). In fact, it has stressed that “[w]e do
 5
 6   not impose a heightened pleading standard in the absence of a ‘an explicit
 7   requirement in a statute of federal rule[.]’” Id. (emphasis added), citing Skaff
 8   v. Meridien North America Beverly Hills, LLC, 556 F.3d 832, 841 (9th Cir.
 9
     2007).
10
           A heightened pleading standard is not invoked in FSIA cases: “In
11
     evaluating assertions of subject-matter jurisdiction based on an exception to
12
13   foreign sovereign immunity . . . [the Ninth Circuit] appl[ies] the same notice
14   pleading requirements [that it] would apply to any other assertion of subject-
15   matter jurisdiction and look[s] only for a ‘short and plain statement’ of the
16
     basis for jurisdiction.” Doe, 557 F.3d at 1074 (emphasis added). Moreover, in
17
     an FSIA sovereign immunity exception case, it will “not engage in ‘a
18
     hypertechnical reading of the complaint inconsistent with the generous notice
19
20   pleading standard.’” Doe, 557 F.3d at 1081, citing Mendoza v. Zirkle Fruit
21   Co., 301 F.3d 1163, 1168 (9th Cir. 2002). Plaintiffs have pled jurisdiction
22   pursuant to both the tort immunity exception and the commercial activity
23
     exception consistent with the notice pleading requirements of Fed. R. Civ. P.
24
     8(a) and controlling Ninth Circuit authority.
25
     II.   THE COMPLAINT PLEADS FACTS ESTABLISHING THE
26
27         TORT IMMUNITY EXCEPTION CONSISTENT WITH NINTH
28         CIRCUIT AUTHORITY.



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 1        The FSIA tort immunity exception provides subject matter jurisdiction
 2
     over a foreign sovereign under the tortious act exception (save the exclusions
 3
     to the exception discussed infra) if there has been injury (1) occurring in the
 4
     United States; (2) caused by a tortious act or omission; (3) where the alleged
 5
 6   acts or omissions were those of a “foreign state or of any official or employee
 7   of that foreign state”; and (4) those acts or omissions were done within the
 8   scope of the tortfeasor’s employment. See 28 U.S.C. § 1605(a)(5). Where
 9
     necessary, in determining whether the tortious act exception applies, the Court
10
     will apply state substantive law. First Nat’l City Bank v. Banco Para El
11
     Comercio Exterior De Cuba, 462 U.S. 611, 622 n. 11, 103 S.Ct. 2591 (1983);
12
13   see also Doe, 557 F.3d at 1081-3.
14        First, Plaintiffs alleged that the entire tort occurred in the United States.
15   Cmplt. [Dkt. #1] ¶ 8. They pled that Defendant’s agents committed the
16
     wrongful acts against Plaintiff Barkev in the United States and were, at the
17
     time of the wrongful events, employed and present in the United States. Id. ¶¶
18
     103, 104. Plaintiff Barkev was in California when he suffered his injury. Id.
19
20   ¶¶ 2, 111. Defendant’s agents were in the United States when they committed
21   the acts of which Plaintiffs complain. Id. ¶¶ 65, 79. This first requirement is
22   therefore met here, and a fortiori: the Ninth Circuit has interpreted §
23
     1605(a)(5) to require that only part of the tort must occur in the United States.
24
     Olsen v. Gov’t of Mexico, 729 F.2d 641, 646 (9th Cir. 1984). Here, the entire
25
     tort occurred in the United States.
26
27        Second, Plaintiffs pled that the acts of Defendant’s agents substantially
28   caused their injuries. Each of the causes of action detail Defendant’s agents’



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 1   degrading and demeaning treatment of Plaintiff Barkev. Cmplt. [Dkt. #1] ¶¶
 2
     107, 118-123, 133-139, 150-152, 164-165, 187. For example, Paragraph 118
 3
     of the Complaint, incorporated into Counts I, II and V, details how
 4
     Defendant’s agents thwarted, harassed, ignored, confused and directed
 5
 6   Plaintiff Barkev knowing they would cause him harm, pain and mental
 7   suffering. Id. ¶¶ 118, 133, 187. Plaintiff Barkev alleged, in Count III, that
 8   Defendant’s agents’ conduct caused him substantial damage (id. ¶¶ 108, 143)
 9
     and, in Count IV, that their conduct caused him permanent damage (id. ¶¶
10
     166, 167). Plaintiff Garo Ghazarian (“Garo”) pled that Defendants’ agents’
11
     conduct against Plaintiff Barkev caused him damage by interfering with his
12
13   expected inheritance. Id. ¶¶ 190-192.      The Complaint sufficiently pleads
14   tortious conduct and causation.
15        Third, the Complaint pleads that the conduct of Defendant’s agents was
16
     in the scope of their employment: “The conduct of Defendant’s agents,
17
     servants, employees and ostensible agents, in the United States, as set forth
18
     herein [in the Complaint], was committed in the course and scope of delegated
19
20   duties and authority granted by Defendant to its agents in the United States.”
21   Id. ¶ 104. Plaintiffs alleged that Defendant’s agents were acting within the
22   scope of their employment and for the benefit of Defendant. Id. ¶ 103. The
23
     Ninth Circuit has held that, under California law, even an employee’s willful,
24
     malicious and even criminal torts may fall within the scope of his or her
25
     employment for the purposes of respondeat superior liability. Xue Lu v.
26
27   Powell, 621 F.3d 944 (9th Cir. 2010), referencing Lisa M. v. Henry Mayo
28   Newhall Memorial Hospital, 12 Cal.4th 291, 294-5 (Cal. 1995).



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 1        Finally, Plaintiffs alleged that Defendant’s agents were officials or
 2
     employees of Defendant: “At all times relevant hereto, Defendant’s agents,
 3
     servants, employees and ostensible agents were the agents, servants,
 4
     employees and ostensible agents of Defendant in the United States.” Cmplt.
 5
 6   [Dkt. #1] ¶ 102.     Plaintiff Barkev was communicating with Defendant’s
 7   Embassy in Washington D.C. (id. ¶ 63) and Defendant’s employee “Güner”
 8   even identified herself as calling from Defendant’s Embassy in Washington
 9
     D.C. Id. ¶ 65. In fact, Plaintiffs pled that “an individual identifying herself as
10
     ‘Güner’ from the [Turkish] Embassy in Washington D.C. telephoned the
11
     business office of Barkev’s son, Plaintiff Garo” and that “‘Güner’
12
13   acknowledged receipt of Barkev’s letter of December 6, 2017” which Barkev
14   had sent to the Turkish Embassy Consular Section in Washington D.C. Id.
15        Accordingly, the Complaint pleads prima facie the required facts
16
     establishing jurisdiction under the tort immunity exception. Doe, 557 F.3d at
17
     1081 (“we . . . do not engage in a hypertechnical reading of the complaint
18
     inconsistent with the generous notice pleading standard”) (internal quotations
19
20   and citations omitted). Plaintiffs have sufficiently pled prima facie that the
21   tort immunity exception applies here to give this Court subject matter
22   jurisdiction. Doe, 557 F.3d at 1084; Prescott v. United States, 973 F.2d 696,
23
     702 and n. 4 (9th Cir. 1992).
24
     III. THE DISCRETIONARY FUNCTION EXCLUSION DOES NOT
25
          SHIELD DEFENDANT TURKEY FROM JURISDICTION.
26
27        As to whether Defendant’s agents’ conduct falls outside the tort
28   immunity exception because of the discretionary function exclusion, the Ninth



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 1   Circuit recognizes a clear and unambiguous exception to the discretionary
 2
     function exclusion that applies in this case.
 3
          A.     The Burden of Proving the Discretionary Function Exclusion
 4
                 Rests with the Foreign State.
 5
 6        As a preliminary matter, the Ninth Circuit has confirmed that the burden
 7   of proving the discretionary function exclusion rests with the foreign state.
 8   Doe, 557 F.3d at 1084. To successfully invoke jurisdiction against a foreign
 9
     state, a plaintiff need only “facially allege” matters falling outside the
10
     discretionary function exception. Id. To the extent that the Court is requiring
11
     Plaintiffs to disprove the discretionary function exclusion, the Court would be
12
13   shifting the burden to Plaintiffs.    Without waiving the argument that the
14   burden to prove the applicability of the discretionary function exclusion rests
15   with Defendant, Plaintiffs will articulate why the discretionary function
16
     exclusion does not apply in this case, in response to the Court’s sua sponte
17
     order to show cause.
18
          B.     The Discretionary Function Exclusion Does Not Apply Here
19
20               Because     Defendant’s      Agents’    Conduct      Was     Neither
21               Discretionary Nor the Type of Conduct the Exclusion Was
22               Designed To Shield.
23
          A foreign state is protected by the discretionary function exclusion if the
24
     challenged action meets two criteria: (1) it is discretionary in nature and (2) it
25
     is of the kind that the discretionary function exclusion was designed to shield.
26
27   See Doe, 557 F.3d 1083-4 (9th Cir. 2009) (a foreign state “is protected by the
28   discretionary function exclusion if the challenged action meets two criteria: it



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 1   is ‘discretionary in nature’ or ‘involve[s] an element of judgment or choice’
 2
     and (2) ‘the judgment is of the kind that the discretionary function exception
 3
     was designed to shield.’”) (emphasis added), citing United States v. Gaubert,
 4
     499 U.S. 315, 322 (1991). To prove the exclusion, the foreign state must
 5
 6   show that the challenged action meets both Gaubert requirements. Doe, 557
 7   F.3d at 1083-4. Here, Defendant’s agents’ conduct does not meet either.
 8              1.     Defendant’s agents’ conduct was undertaken pursuant to a
 9
                       specific and mandatory policy—and therefore was not
10
                       discretionary.
11
          The Ninth Circuit has recognized that the discretionary function
12
13   exclusion does not apply where the conduct was undertaken consistent with a
14   “‘specific and mandatory’” policy of the foreign state. Doe, 557 F.3d at 1084;
15   citing Kennewick Irrigation Dist. v. United States, 880 F.2d 1018, 1026 (9th
16
     Cir. 1989) (emphasis in original). In other words, pleading a specific and
17
     mandatory policy renders a claim facially outside the discretionary function
18
     exclusion, thus surviving a motion to dismiss. Doe, 557 F.3d at 1084; see also
19
20   O’Bryan v. Holy See, 556 F.3d 361, 387 (6th Cir. 2009). In Doe, the plaintiff
21   did not plead a specific and mandatory policy and, as such, failed to facially
22   plead conduct outside the discretionary function exclusion. Doe, 557 F.3d at
23
     1084.
24
          The Ninth Circuit’s reasoning in Doe is consistent with the Sixth
25
     Circuit’s conclusions in O’Bryan v. Holy See, 556 F.3d 361, 387 (6th Cir.
26
27   2009), cited by the Ninth Circuit in Doe. The O’Bryan court held that the tort
28   claims against the foreign state on the theory of respondeat superior were not



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 1   barred by the discretionary function exclusion because the complaint pled that
 2
     the agent’s conduct was pursuant to a specific policy of the defendant that its
 3
     agents were required to follow. 556 F.3d at 387. In fact, the Sixth Circuit
 4
     explained: “According to the complaint, the 1962 Policy ‘impose[d] the
 5
 6   highest level of secrecy on the handling of clergy sexual abuse matters’[ . . .
 7   and t]hus, following the 1962 Policy cannot, on the pleadings in plaintiffs’
 8   complaint, be deemed discretionary.” Id. at 387. Where the foreign state’s
 9
     agents’ conduct is undertaken pursuant to a mandatory policy, following the
10
     policy cannot be deemed discretionary. Doe, 557 F.3d at 1084; Kenniwick,
11
     880 F.2d at 1026; O’Bryan, 556 F.3d at 387.
12
13        Plaintiffs here alleged that Defendant’s agents’ conduct was pursuant to
14   a mandatory Targeted Policy from which Defendant’s agents were not
15   permitted to digress or deviate. Cmplt. [Dkt. #1] ¶ 96 (“Defendant has directed
16
     and continues to direct its agents, whether explicitly or implicitly, that no
17
     deviation or digression from its Targeted Policy is permitted.”). Plaintiffs
18
     alleged, a number of times, that “Defendant’s agents’ conduct was undertaken
19
20   consistent with its Targeted Policy from which Defendant’s agents were not
21   permitted to digress and/or deviate.” See id. ¶¶ 124; see also id. ¶¶ 140, 153,
22   172, 194. They pled that “Defendant’s targeted Policy requires Defendant’s
23
     agents in the United States to thwart, harass, confuse, degrade and
24
     humiliate native Armenian Christians, like Barkev, seeking to exercise rights
25
     in Turkey as native Armenian Christians.” Id. ¶ 95 (emphasis added).
26
27        Plaintiffs also pled that the Targeted Policy was specific.        It was
28   implemented at the very founding of the Turkish Republic, finding political



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 1   currency in the words of Mustafa Kemal Ataturk himself: “Armenians have no
 2
     rights at all in this prosperous country.” Id. ¶ 88. Plaintiffs alleged that the
 3
     Targeted Policy had been established through “a series of legislative,
 4
     executive, administrative” acts and “pursued, institutionalized, enhanced and
 5
 6   adhered to by Defendant’s successive governments and agents.” Id. ¶¶ 90, 92.
 7   Plaintiffs explained the core purpose of the Targeted Policy: “The core
 8   purpose of the Targeted Policy was to strip native Armenian Christians of
 9
     their rights and identities by dehumanizing, degrading, expropriating,
10
     alienating, disenfranchising, liquidating and otherwise severing Armenian
11
     Christians from their native lands and their native customs and religious
12
13   practices on such lands.” Id. ¶ 91. The Complaint also alleges how this
14   Targeted Policy was applied against Plaintiff Barkev. Id. ¶¶ 97, 98. Finally,
15   Plaintiffs specifically pled how Defendant’s agents’ conduct with respect to
16
     Plaintiff Barkev directly served the specific purposes of the Targeted Policy.
17
     Id. ¶¶ 94, 95.
18
          The Complaint pleads a specific and mandatory policy from which
19
20   Defendant’s agents were not permitted to digress or deviate. Accordingly,
21   Plaintiffs have alleged claims “facially outside the discretionary function
22   [exclusion.]” See Doe, 557 F.3d at 1084. Plaintiffs submit that, as such, the
23
     Complaint should not be dismissed under the discretionary function exclusion.
24
     Id.; O’Bryan, 556 F.3d at 384.
25
                 2.    Defendant’s agents’ conduct is not the type of conduct that
26
27                     the discretionary function exclusion was designed to shield.
28



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 1        Even if Plaintiffs had not pled the Targeted Policy (which they did), the
 2
     discretionary function exclusion still does not apply because the second
 3
     Gaubert criterion is not met either. The conduct of which Plaintiffs complain
 4
     is simply not the type of judgment that the discretionary function action was
 5
 6   designed to shield. See Doe, 557 F.3d at 1083-4.
 7        The conduct about which Plaintiffs’ complaint is not about the grant or
 8   the denial of a visa application: “The claims set forth herein are not about the
 9
     grant or denial of a visa.” Cmplt. [Dkt. #1] ¶ 106. Plaintiffs complained about
10
     “Defendant’s agents’ abusive treatment of an elderly man . . . in violation of
11
     statutory and common law in the United States as well as international human
12
13   rights law[ . . . which] have caused substantial injury to both Plaintiff Barkev
14   and his son, Plaintiff Garo.” Id. ¶¶ 107, 108. Plaintiffs alleged, in fact, that
15   Defendant’s agents’ conduct had no meaningful connection to Defendant’s
16
     visa application policy. Id. ¶ 87 (Defendant’s agents’ conduct had “nothing to
17
     do with its visa application process per se—and everything to do with the fact
18
     that Barkev is a native Armenian Christian of Turkey.” (emphasis added).
19
20         The Complaint explains how Defendant’s agents’ conduct cannot be
21   reconciled with Defendant’s routine administrative functions. Id. ¶ 86
22   (Defendant’s agents’ treatment of Plaintiff Barkev was “neither consistent
23
     with its visa application policy nor practicable given Defendant’s visa regime
24
     Defendant maintained at the time.”).          In other words, although Plaintiff
25
     Barkev submitted a visa application, Defendant’s agents never intended to
26
27   process it, to grant it or deny it. Id. ¶¶ 81-84. They could have granted the
28   visa application; they did not. Id. ¶ 82. They could have denied the visa



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 1   application; they did not. Id. They even could have told Plaintiff Barkev that
 2
     there was something wrong with the application; they did not. Id. ¶¶ 81, 82,
 3
     83, 84. Rather, and because Plaintiff Barkev sought to exercise rights as a
 4
     native Armenian Christian from Turkey, Defendant’s agents intentionally
 5
 6   ridiculed, confused, degraded and demeaned him. Id. ¶ 84, 85.
 7        It is this conduct that is at issue in this case—not the processing of a visa
 8   application that Defendant’s agents would not acknowledge, let alone process.
 9
     The Targeted Policy of Defendant required that Defendant’s agents undertake
10
     acts to harm Plaintiff Barkev because he identified himself, and sought rights,
11
     as native Armenian Christian from Turkey.         These are the allegations of
12
13   misconduct in this case. Plaintiff Barkev complains that Defendant’s agents
14   harassed, confused, degraded, ridiculed and demeaned him in violation of
15   international law and the statutory and common laws of the State of
16
     California. Id. ¶¶ 118-123, 133-139, 151-152, 164-165, 187. Plaintiff Garo
17
     complains that by so treating his father, Defendant’s agents intentionally
18
     interfered with Plaintiff Garo’s expected inheritance. Id. ¶¶ 175-196.
19
20   Plaintiffs both allege that Defendant’s agents’ conduct was pursuant to a
21   specific and mandatory policy of Defendant from which Defendant’s agents
22   were not permitted to deviate or digress. Id. ¶¶ 96, 124, 140, 153, 172, 194;
23
     Doe, 557 F.3d at 1084; O’Bryan, 556 F.3d at 370.
24
          Because this is an FSIA case does not mean that a greater-than-usual
25
     level of detail in the pleadings is required, and it does not mean that the
26
27   factual allegations may not be construed in favor of Plaintiffs. Doe, 557 F.3d
28   at 1073. The misconduct complained of by Plaintiffs, as pled, is not the type



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 1   of conduct the discretionary function exclusion was designed to shield. See id.
 2
     at 1083-4.
 3
          C.      The Cases Cited by the Court Relating to the Discretionary
 4
                  Function Exclusion Are Not Applicable to This Case.
 5
 6        In citing four cases involving the discretionary function exclusion to the
 7   tort immunity exception, the Court invited Plaintiffs to explain why the Court
 8   should exercise jurisdiction. Order [Dkt.# 15] at 2.             First, Plaintiffs
 9
     respectfully point out that the four cases are not binding precedent and,
10
     secondly, and more importantly, they are not applicable to this case.
11
          In Alicog v. Kingdom of Saudi Arabia, 860 F. Supp. 379, 382 (S.D. Tex.
12
13   1994), the Court held that the Saudi King was immune from suit because his
14   consular agents’ withholding of plaintiffs’ passport and holding of plaintiffs in
15   a hotel was a discretionary act.        Importantly, the Texas federal court
16
     acknowledged that “[t]he law has imposed limits on the exception for
17
     discretionary functions.” Id. at 383.          One of those crucial limitations,
18
     recognized by the Ninth Circuit in Doe—the existence of a specific and
19
20   mandatory policy—was simply not at issue in Alicog.
21        In Risk v. Kingdom of Norway, 707 F.Supp. 1159, 1165-6 (N.D. Cal.
22   1989), the question presented was whether the discretionary function
23
     exclusion can shield conduct in aiding a Norwegian citizen in removing her
24
     children from their father’s custody and taking them to Norway. The Risk
25
     court held that the Norwegian officials’ conduct in giving advice, travel
26
27   documents and funds to a Norwegian citizen and aiding her travel to Norway
28   with her children was a discretionary consular act that served Norway’s



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 1   interests in protecting its own citizens. 707 F.Supp. at 1166-7. Risk is patently
 2
     inapposite here: Defendant cannot offer any valid state interest in subjecting
 3
     Plaintiff Barkev to abusive and harassing treatment and certainly cannot
 4
     demonstrate that its agents were acting in the aid of anyone at all, let alone a
 5
 6   Turkish citizen.   Finally, and again unlike the case at bar, there was no
 7   specific and mandatory policy pled in Risk which removed the element of
 8   discretion from the agent’s conduct.
 9
          The case from New York, Kline v. Kaneko, 685 F.Supp. 386 (S.D.N.Y.
10
     1988), is likewise inapplicable to the facts here. The Kline court first held that
11
     the tort immunity exception did not apply because the entire tort did not occur
12
13   in the United States. 685 F.Supp. at 391; cf. supra Section II. The court then
14   added that the discretionary function exclusion applies because the
15   “[e]nforcement of Mexico’s immigration laws and the decision to expel Kline
16
     from the country clearly are discretionary functions[.]” Kline, 685 F.Supp. at
17
     392. In this case, Plaintiffs’ claims do not involve Turkey’s immigration laws
18
     and, in fact, do not even involve Turkey’s visa rules. Cmplt. [Dkt. #1] ¶ 106
19
20   (“The claims set forth herein are not about the grant or denial of a visa.”); see
21   also supra Section III.B.2. Moreover, the Kline plaintiffs also did not plead
22   any specific and mandatory policy removing discretion from the foreign
23
     state’s agents’ conduct.
24
          Finally, in Childs v. Government of Canada, 10-10524, 2010 WL
25
     4791436, at *1 (E.D. Mich. Oct. 13, 2010), report and recommendation
26
27   adopted, 10-10524, 2010 WL 4788564 (E.D. Mich. Nov. 17, 2010), plaintiff
28   sued Canada “claiming some sort of interference with his right to enter



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 1   Canada[.]” The Childs court focused on the two-part test, explaining that “the
 2
     first inquiry is whether the challenged action involved an element of choice or
 3
     judgment[.]” Id. at *3 (emphasis added). It is only “if choice or judgment is
 4
     exercised” that the court moves then to the second inquiry, “whether that
 5
 6   choice or judgment . . . was one involving social, economic or political
 7   policy.” Id. The applicability of Childs in this case fails at the very first
 8   inquiry: Plaintiffs here have pled a specific and mandatory policy from which
 9
     Defendant’s agents were not permitted to digress and/or deviate, which
10
     removed the element of discretion. As pled, the Complaint sub judice does
11
     not warrant moving to the second inquiry at all. Yet, even if Plaintiffs’ had
12
13   not pled the Targeted Policy (which they did), Childs’ second inquiry finding
14   that “Defendants’ procession, investigation, and decision” of plaintiff’s
15   application is a type of judgment covered by the exclusion is not persuasive
16
     here, where Defendant’s agents never intended to process, grant or deny
17
     Barkev’s application—and, in fact, did not process, grant or deny it.
18
     Defendant’s agents were acting pursuant to a Targeted Policy to hurt Plaintiff
19
20   Barkev for identifying himself, and seeking rights, as a native Armenian
21   Christian from Turkey. See supra Section III.B.2.
22        None of the cited cases plead a specific and mandatory policy removing
23
     the element of discretion from the foreign state’s agents’ conduct. Plaintiffs
24
     have so pled here and, as pled in the Complaint, Defendant’s agents’ actions
25
     could not be discretionary because they were undertaken in strict conformity
26
27   with the Targeted Policy from which no digression or deviation was permitted.
28   Doe, 557 F.3d at 1084; O’Bryan, 556 F.3d at 370.



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 1   IV. THE COMMERCIAL ACTIVITY EXCEPTION GIVES THE
 2
           COURT SUBJECT MATTER JURISDICTION IN THIS CASE.
 3
           The Court invites Plaintiffs to explain why the commercial activity
 4
     exception applies here since, as the Court describes, Plaintiffs’ claims are
 5
 6   “predicated on allegations that the Republic of Turkey and its agents
 7   improperly processed a visa application[.]” Dkt. #15 at 1-2. The Court should
 8   not focus too narrowly on specific conduct not relevant to Plaintiffs’ claims
 9
     (the grant or denial or a visa) but focus on the commercial activity that is
10
     relevant to Plaintiff’s claims (soliciting religious tourism in the United States).
11
     The commercial activity exception also gives this Court subject matter
12
13   jurisdiction in this case.
14         A.     The Ninth Circuit Employs the Private Person Test in
15                Determining the Applicability of the Commercial Activity
16
                  Exception.
17
           The FSIA commercial activity exception provides that a foreign state
18
     shall not be immune from the jurisdiction of this Court where the foreign
19
20   state’s actions are based upon “a commercial activity carried on in the United
21   States by the foreign state” or “an act performed in the United States in
22   connection with a commercial activity of the foreign state elsewhere[.]” 28
23
     U.S.C. 1605(a)(2). In Republic of Argentina v. Weltover, 504 U.S. 607, 617,
24
     112 S.Ct. 2160, 119 L.Ed.2d 394 (1992), the Supreme Court held that “when a
25
     foreign government acts, not as a regulator of a market, but in the manner of a
26
27   private player within it, the foreign sovereign’s actions are ‘commercial’
28   within the meaning of the FSIA.” 504 U.S. at 614.



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 1        In making a commerciality determination, the Ninth Circuit has stressed
 2
     that “an activity is commercial unless it is one that only a sovereign state could
 3
     perform.” Park v. Shin, 313 F.3d 1138, 1145 (9th Cir. 2002) (emphasis
 4
     added). The FSIA further directs courts to look at the nature of the activity
 5
 6   and not its purpose. Id. (“Even if performed with a public purpose in mind,
 7   acts by governmental entities are considered commercial in nature if the role
 8   of the sovereign is one that could be played by a private actor.”).
 9
          Moreover, the Ninth Circuit has specifically stated that the nature of the
10
     commercial activity cannot be defined “far too narrowly” when determining
11
     whether the activity triggers the commercial activity exception. Park, 313
12
13   F.3d at 1145; see also Sun v. Taiwan, 201 F.3d 1105, 1108-9 (9th Cir. 2000).
14   In fact, this Circuit has specifically held that a court must not focus solely on
15   the specific conduct but, instead, consider the broader “category” of the
16
     activity. Sun, 201 F.3d at 1109 (“The phrase [‘type of activity’] does not refer
17
     only to the specific act performed by the government, but rather to a category
18
     of conduct.”). Referencing the facts in Weltover, the Ninth Circuit explained
19
20   that “[n]o private party would refinance government debt either, but the
21   Supreme Court has held this activity to be commercial” because the category
22   of conduct—issuing bonds to refinance a debt—was a type of activity that
23
     could be undertaken by private players. Sun, 201 F.3d at 1109; see Weltover,
24
     504 U.S. at 615.
25
          Finally, and perhaps most critically here, in order for the commercial
26
27   activity exception to apply, “[t]he entire case need not be based on the
28   commercial activity of the defendant.” Sun, 201 F. 3d at 1009; see also Saudi



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 1   Arabia v. Nelson, 507 U.S. 349, 358 at n.4. In fact, “an action is based on
 2
     commercial activity in the United States if an element of the plaintiff’s
 3
     claim consists in conduct that occurred in commercial activity carried on
 4
     in the United States.” Sugimoto v. Exportadora De Sal, S.A. de C.V., 19
 5
 6   F.3d 1309, 1311 (9th Cir. 1994), as amended (July 1, 1994) (emphasis
 7   added); see also Sun, 201 F.3d at 1109; Nelson, 507 U.S. 349 at 356.
 8        B.       Defendant Acted as Would a Private Person in Soliciting
 9
                   Persons Residing in the United States to Visit Turkey for
10
                   Tourism.
11
          A crucial element of Plaintiffs’ claims is that Plaintiff Barkev intended
12
13   to travel to Turkey to make religious pilgrimage and visit his family’s native
14   Armenian Christian prayer cites and native lands. See Cmplt. [Dkt. #1] ¶¶ 43;
15   56, 57. Defendant’s active marketing of religious tourism in Turkey is a
16
     commercial activity that speaks directly to this element of Plaintiffs’ claims.
17
     Moreover, it is precisely the type of commercial activity conducted regularly
18
     by tourism companies and agencies—and is not in the exclusive domain of
19
20   sovereigns.
21        First, Defendant actively markets Armenian Christian heritage sites,
22   churches and native lands in the United States to solicit tourism to Turkey.
23
     Defendant’s Ministry of Culture and Tourism website, published in English
24
     online at http://www.kultur.gov.tr/?_dil=2 (last visited June 27, 2019),
25
     contains a link to the glittering Turkish Tourism Portal through which
26
27   Defendant actively markets Armenian churches and Armenian cultural
28   heritage sites to potential visitors in an effort to win tourism to Turkey, for the



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 1   financial gain and commercial benefit of Defendant.              For example,
 2
     Defendants’ Turkish Tourism Portal showcases the historic Armenian cities of
 3
     Kars and Ani, the latter of which it calls the “City of 1001 Churches.” See
 4
     https://hometurkey.com/en/destinations/kars (last visited June 27, 2019). It
 5
 6   highlights the Armenian Church on Aghtamar Island in Lake Van in a vivid
 7   pictorial landscape. See https://hometurkey.com/en/destinations/van (last
 8   visited June 27, 2019).           The site contains links to “Attractions”,
 9
     “Destinations”, a travel blog, pictures of beaches, pools and cuisines, and even
10
     links to “Follow Us on Social Media”. See https://hometurkey.com/en/ (last
11
     visited on June 27, 2019). The portal, moreover, even has a direct link to
12
13   Defendant’s          electronic             visa       application.          See
14   https://hometurkey.com/en/attractions (last visited June 27, 2019). Defendant
15   operates a rich travel site competing openly in the online tourism market.
16
          Moreover, Defendant specifically markets “religious tourism” in the
17
     United States through its portal. It lures visitors to Mount Ararat noting that
18
     “[a]ccording to the Old Testament, this is the place where Noah’s Ark
19
20   landed.” See https://hometurkey.com/en/attractions/mt-ararat-agri (last visited
21   June 27, 2019). It showcases the Cave Church of Saint Peter in Antioch,
22   claiming that it is the first church in the world and that “Anatolia is a symbol
23
     of the brotherhood of religious where diverse religions and cultures have
24
     coexisted            in             peace           over              centuries.”
25
     https://hometurkey.com/en/attractions/cave-church-of-saint-peter (last visited
26
27   June 27, 2019). Defendant displays a vivid spray of Christian monasteries
28   claiming that “these monasteries are spellbinding remains of an era gone by,



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 1   and of some of the first Christian communities anywhere in the world.” See
 2
     https://hometurkey.com/en/blog/most-incredible-and-ancient-monasteries-
 3
     you-never-even-heard-of (last visited June 27, 2019).
 4
          In fact, a portion of its site is plainly labelled “Religious Tourism” and
 5
 6   contains multiple pages featuring religious tourism destinations, including
 7   Armenian         and        Christian          churches        and           shrines.
 8   https://hometurkey.com/en/attractions/cat/religious-tourism/page/4              (last
 9
     visited June 27, 2019). Defendant’s Ministry of Culture & Tourism details its
10
     “branding” and “tourism development zones” strategy—and even describes its
11
     “Faith Tourism Corridor” in “the city settlements of Hatay,” the very province
12
13   in which Plaintiff Barkev’s place of baptism, Ballum, is now situated. See
14   http://www.kultur.gov.tr/Eklenti/43537,turkeytourismstrategy2023pdf.pdf?0&
15   _tag1=796689BB12A540BE0672E65E48D10C07D6DAE291                       (last    visited
16
     June 27, 2019) at p. 52.
17
          Defendant even targets promotional, marketing videos directly to Los
18
     Angeles residents.     For example, Defendant’s sovereign-owned carrier,
19
20   Turkish Airlines, has employed celebrities such as Kobe Bryant, plainly
21   familiar to L.A. residents including Lakers’ fans Plaintiffs Barkev and Garo,
22   to showcase tourism to Turkey, even publishing a video in the U.S. showing
23
     the ease of a direct flight from Los Angeles to Turkey. See
24
     https://www.youtube.com/watch?v=zFYM4ECGpZA (last visited June 27,
25
     2019). These are the activities of travel-related companies.
26
27        Defendant’s marketing of Armenian Christian heritage sites and
28   Christian religious tourism in the United States is a commercial activity, and it



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 1   speaks directly to an element of Plaintiffs’ claims. See Sugimoto, 19
 2
     F.3d 1311.      This is the type of activity that is undertaken by private
 3
     players. See Sun, 201 F.3d at 1109; see Weltover, 504 U.S. at 615. As such,
 4
     the Complaint pleads a short and concise statement as to the commercial
 5
 6   activity exception (Cmplt. [Dkt. #1] ¶ 8;Doe, 557 F.3d at 1081), and there is
 7   no basis to dismiss Plaintiffs’ complaint for lack of subject matter
 8   jurisdiction.
 9
                                   CONCLUSION
10
           Foreign    sovereign   immunity        is   an   important   protection   for
11
     countries under international law—but such immunity is not absolute in
12
13   the United States. The FSIA is a clear departure from the “absolute” theory
14   of sovereign immunity, and it codifies the “restrictive” theory of sovereign
15   immunity first endorsed by the State Department in 1952. Weltover, 504 U.S.
16
     at 612; Nelson, 507 U.S. 349 at 359. This “restrictive” theory of sovereign
17
     immunity does not award a foreign state the license to act indiscriminately
18
     contrary to the laws of the United States, international humanitarian law
19
20   or established norms of civility; and it certainly does not give Defendant
21   Republic of Turkey a free pass to malevolently abuse, discriminate and
22   interfere with the rights and dignity of human beings right here on
23
     American soil and in the Ninth Circuit. Under the facts pled in the
24
     Complaint, the Court has subject matter jurisdiction pursuant to both
25
     the   tort immunity and commercial activity exceptions, 28 U.S.C.
26
27   1605(a)(2) and (5).
28



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 1         Wherefore, Plaintiffs respectfully submit this Memorandum of Law to
 2
     the Court and respectfully request that this Court find that it has subject matter
 3
     jurisdiction in this matter.
 4
 5
 6   Dated: June 28, 2019               Respectfully submitted,
 7                                      BARKEV GHAZARIAN and
 8                                      GARO B. GHAZARIAN
 9
                                        /s/ Karnig Kerkonian
10
11                                      KARNIG KERKONIAN
                                        ELIZABETH AL-DAJANI
12                                      KERKONIAN DAJANI LLC
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15                                      Facsimile: (312) 604-7815
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                                        Email: kkerkonian@kerkoniandajani.com
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18                                      GAYANE KHECHOOMIAN
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19                                      Glendale, California 92203-3590
20                                      Telephone: (818) 454-0446
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21
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23                                      Attorneys for Plaintiffs
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 1                           CERTIFICATE OF SERVICE
 2
           I, Karnig Kerkonian, hereby certify that on June 28, 2019, I caused the
 3
     Plaintiffs’ Reply to Order to Show Cause re Subject Matter Jurisdiction, to be
 4
     electronically filed with the Clerk of the Court for the United States District
 5
     Court for the Central District of California using the CM/ECF system, which
 6
     automatically serves such filing on the attorneys of record in this case.
 7
 8
                                             /s/ Karnig Kerkonian
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